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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                     No. 1:21-cv-02900-CJN-MAU
                   Plaintiffs,
       v.

HERRING NETWORKS, INC., D/B/A                        Magistrate Judge Moxila A. Upadhyaya
ONE AMERICA NEWS NETWORK,

                   Defendant.


      DEFENDANT’S SUR-REPLY IN SUPPORT OF ITS OPPOSITION TO
  SMARTMATIC’S MOTION FOR EXTENSION OF TIME TO SERVE DOCUMENT
                           REQUESTS

       Herring Networks, Inc., D/B/A One America News Network (“OAN”) files this sur-reply

in support of its Opposition to the Motion for Extension of Time to Serve Document Requests

(“Motion for Extension,” ECF No. 54) filed by Plaintiffs Smartmatic USA Corp., Smartmatic

International Holdings B.V., and SGO Corporation Limited (collectively, “Smartmatic”) and

shows the following:

       1.      Contrary to Smartmatic’s claim, OAN’s opposition to a 60-day extension of the

deadline to submit Requests for Production (“RFPs”) is neither made in bad faith nor is it dilatory.

OAN objected to Smartmatic’s Motion for Extension for two simple reasons. First, Smartmatic

failed to meet Judge Nichols’ requirement that an extension motion be filed four days prior to the

deadline—OAN never waived compliance with this requirement. Second, Smartmatic’s requested

extension of 60 days is unreasonable and prejudicial – OAN never agreed to this lengthy extension.

Nothing in the prior communications between the parties suggests OAN would agree to the Motion




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for Extension as it was filed; indeed, the exhibits Smartmatic attached to its Reply confirm that

OAN’s objections came as no surprise at all.

       2.      In an email response to Smartmatic’s suggestion that it might seek an extension of

an unspecified duration to the RFP deadline, OAN’s counsel reminded Smartmatic of “Judge

Nichols’ four-business-day rule (which means that Plaintiffs’ motion is due Wednesday).”

Smartmatic Reply, Ex. B. Further, OAN’s counsel stated that he would “like to see the draft motion

before you file it to confirm Herring Networks, Inc., doesn’t oppose it as written by Plaintiffs…

Please share a draft by tomorrow afternoon [May 23].” Id. (emphasis added). Thus, Smartmatic

was on clear notice that OAN expected compliance with the deadline to seek an extension and that

it reserved the right to object to the motion “as written by Plaintiffs.”

       3.      Seven days later, Smartmatic “decided that it will seek an extension” and sent OAN

a draft to review on May 30, which was after the expiration of the four-day deadline. Smartmatic

Reply, Ex. D. OAN counsel at Vedder Price informed Smartmatic that Jackson Walker had taken

over as lead counsel and expressed that it would likely “object to the misleading wording” in the

motion.1 Id. Rather than waiting a reasonable time for Jackson Walker to respond, or even

attempting to call OAN’s new counsel, Smartmatic filed its extension less than 24 hours later.

       4.      OAN’s Response in Opposition is consistent with OAN’s counsel’s email to

Smartmatic on May 22. Smartmatic Reply, Ex. B. Smartmatic’s motion is untimely, but more

important, as OAN demonstrates in the Response a 60-day extension would be unreasonable and

prejudicial. If the Court is inclined to grant some relief, OAN proposes that the deadline be set for



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  Smartmatic emailed the draft to Vedder Price, who forwarded that email to Jackson Walker,
copying Smartmatic’s counsel to inform them of the change in lead counsel. Smartmatic Reply,
Ex. D.
                                                  2
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June 9, 2023, which would amount to a nine-day extension, and is consistent with the alternative

relief requested by Smartmatic in its Reply, which seeks an extension of a “short[] amount of time

to allow Smartmatic to serve additional requests that it would have filed by May 31.” Smartmatic

Reply at 6.




Dated: June 7, 2023                          By: /s/ Jonathan D. Neerman


                                             JACKSON WALKER LLP
                                             Jonathan D. Neerman (D.D.C. admission pending)
                                             D.C. Bar No. 90003393
                                             jneerman@jw.com
                                             Jackson Walker LLP
                                             2323 Ross Avenue, Suite 600
                                             Dallas, TX 75201
                                             T: (214) 953-5664
                                             F: (214) 661-6899


                                             /s/ R. Trent McCotter
                                             R. TRENT MCCOTTER (D.C. BAR NO. 1011329)
                                             Boyden Gray & Associates
                                             801 17th St NW, #350
                                             Washington, DC 20006
                                             (202) 706-5488
                                             mccotter@boydengrayassociates.com

                                             Counsel for Defendant




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                                  CERTIFICATE OF SERVICE
       I hereby certify that on this 7th day of June 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.



                                                     /s/ R. Trent McCotter
                                                     R. Trent McCotter




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